     Case
      Case2:13-cr-00352-GMN-PAL
            2:13-cr-00352-GMN-PAL Document
                                  Document38  Filed05/14/14
                                           37 Filed 06/09/14 Page
                                                              Page11
                                                                   ofof
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     United States Attorney
 2   AMBER M. CRAIG
     Assistant United States Attorney
 3   333 Las Vegas Blvd. South, Suite 5000
     Las Vegas, Nevada 89101
 4   PHONE: (702) 388-6336
     FAX: (702) 388-6698
 5
                                    UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
                                                -oOo-
 7
     UNITED STATES OF AMERICA,
 8                                                              2:13-cr-352-GMN-PAL
                             Plaintiff,
 9                                                             GOVERNMENT’S MOTION FOR
                 vs.                                           LEAVE TO FILE LATE RESPONSE
10                                                             AND PARTIES’ STIPULATION TO
     JOHN ORTEGA,                                              CONTINUE GOVERNMENT’S
11                                                             DEADLINE TO RESPOND TO
                            Defendant.                         MOTION TO SUPPRESS
12

13          COMES NOW the United States of America, by and through DANIEL G. BOGDEN, United
14   States Attorney, and AMBER M. CRAIG, Assistant United States Attorney, and respectfully moves
15   this Court for leave to file late responses to Defendant John Ortega’s Motions to Suppress Evidence.
16          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United
17   States Attorney, and Amber M. Craig, Assistant United States Attorney, counsel for the United
18   States of America, and Angela Dows, Esq., counsel for Defendant John Ortega, that the
19   Government’s deadline to respond to the Defendant’s Motions to Suppress, currently set for May 12,
20   2014, be vacated and continued for thirty (30), or to a date to be set at the Court’s convenience.
21          This stipulation is entered into for the following reasons:
22          1. Government and defense counsel agreed to stipulate to continue the Government’s
23   deadline to respond to the Defendant’s Motions to Suppress. Government counsel was unexpectedly
24   out of the office and was unable to prepare and file the stipulation before the deadline.


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     Case
      Case2:13-cr-00352-GMN-PAL
            2:13-cr-00352-GMN-PAL Document
                                  Document38  Filed05/14/14
                                           37 Filed 06/09/14 Page
                                                              Page22
                                                                   ofof
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 1              2. Government and defense counsel are engaged in plea negotiations which may result in
 2   the Defendant’s moving to withdraw his Motions to Suppress. As such, additional time is necessary
 3   to allow counsel to pursue and finalize negotiations.
 4              3. The Defendant is incarcerated and does not object to the continuance.
 5              4. For the reasons stated above, the ends of justice would best be served by a continuance of
 6   the response deadline.
 7              5. Additionally, denial of this request for continuance could result in a miscarriage of
 8   justice.
 9              6. The additional time requested by this Stipulation is excludable in computing the time
10   within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
11   States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18, United
12   States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).
13              7. This is the first request for a continuance filed herein.
14              DATED this ____ day of May, 2014.
15                                                              DANIEL G. BOGDEN
                                                                United States Attorney
16
      /s/ Angela Dows                                            /s/ Amber M. Craig_______
17   ANGELA DOWS, ESQ.                                          AMBER M. CRAIG
     Counsel for Defendant Ortega                               Assistant United States Attorney
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     Case
      Case2:13-cr-00352-GMN-PAL
            2:13-cr-00352-GMN-PAL Document
                                  Document38  Filed05/14/14
                                           37 Filed 06/09/14 Page
                                                              Page33
                                                                   ofof
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                                       UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
                                                   -oOo-
 3
     UNITED STATES OF AMERICA,
 4
                                Plaintiff,                        2:13-cr-352-GMN-PAL
 5
                     vs.                                          FINDINGS OF FACT, CONCLUSIONS
 6                                                                OF LAW, AND ORDER
     JOHN ORTEGA,
 7
                               Defendant.
 8
                                               FINDINGS OF FACT
 9              Based upon the pending Stipulation of counsel, and good cause appearing therefore, the
10   Court finds that:
11              1. Government and defense counsel agreed to stipulate to continue the Government’s
12   deadline to respond to the Defendant’s Motions to Suppress. Government counsel was unexpectedly
13   out of the office and was unable to prepare and file the stipulation before the deadline.
14
                2. Government and defense counsel are engaged in plea negotiations which may result in
15   the Defendant’s moving to withdraw his Motions to Suppress. As such, additional time is necessary
16
     to allow counsel to pursue and finalize negotiations.
17              3. The Defendant is incarcerated and does not object to the continuance.
18
                4. For the reasons stated above, the ends of justice would best be served by a continuance of
19
     the response deadline.
20
                5. Additionally, denial of this request for continuance could result in a miscarriage of
21
     justice.
22
                6. The additional time requested by this Stipulation is excludable in computing the time
23
                7. within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,
24
     United States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18,


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      Case2:13-cr-00352-GMN-PAL
            2:13-cr-00352-GMN-PAL Document
                                  Document38  Filed05/14/14
                                           37 Filed 06/09/14 Page
                                                              Page44
                                                                   ofof
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 1   United States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).
 2                                        CONCLUSIONS OF LAW
 3          The ends of justice served by granting said continuance outweigh the best interest of the
 4   public and the Defendant in a speedy trial, since the failure to grant said continuance would be likely
 5   to result in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity
 6   within which to be able to effectively and thoroughly prepare for trial, taking into account the
 7   exercise of due diligence.
 8          The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
 9   States Code, Sections 3161(h)(1)(A), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).
10                                                  ORDER
11          IT IS THEREFORE ORDERED that the Government’s deadline to file its response to
12   Defendant’s Motions to Suppress, currently scheduled for May 12, 2014, be vacated and continued
13   to the 13th             June
            ____ day of __________________, 2014.
14          DATED this ____ dayof
                                ofJune,
                                   May, 2014.
                       9th day          2014.
15

16                                                          ________________________________
                                                            HONORABLE PEGGY LEEN
17                                                          UNITED STATES MAGISTRATE JUDGE
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